     Case 3:22-cv-01635-N Document 16 Filed 09/12/22                  Page 1 of 10 PageID 66



                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

DAVID AXMANN                                              §
                                                          §
             Plaintiff                                    §
                                                          §
v.                                                        §      CIVIL ACTION NO. 3:22-cv-01635
                                                          §
U.S. ANESTHESIA PARTNERS                                  §
HOLDINGS, INC. and U.S. ANESTHESIA                        §
PARTNERS OF TEXAS, P.A.                                   §
                                                          §
                Defendants                                §      JURY TRIAL DEMANDED

                                 FIRST AMENDED COMPLAINT

        Plaintiff, for his Complaint against Defendants, would show as follows:

                                                Parties

        1.      Plaintiff is an individual over the age of 40.

        2.      Defendants are a corporation and a professional association, together with other

legal entities, and their predecessors in interest, operating as U.S. Anesthesia Partners (collectively,

“USAP”). Defendant U.S. Anesthesia Partners Holdings, Inc. (“USAPH”) may be served with

summons through any officer or management agent, including Robert Cowart, chief executive

officer, at 12222 Merit Drive, Suite 700, Dallas Texas 75257, and Defendant U.S. Anesthesia

Partners of Texas, P.A. (“USAPT”) may be served with summons through any officer or

management agent, including Scott Holliday, D.O.

                                       Jurisdiction and Venue

        3.      The Court has federal question subject matter jurisdiction over this action pursuant

to 28 U.S.C. § 1331.

        4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391.




FIRST AMENDED COMPLAINT – Page 1
   Case 3:22-cv-01635-N Document 16 Filed 09/12/22                  Page 2 of 10 PageID 67




                                               Facts

       5.      Plaintiff is an anesthesiologist, with a specialty in neurological anesthesia, licensed

as a physician in Texas, over age 40, age 54 as of December 16, 2021, and as such protected against

age discrimination. Defendants operate a corporate medical practice under the name of USAP

(“USAP”) focused on provision of anesthesia services in surgery, employing physician

anesthesiologists and non-physician nurse anesthetists. Plaintiff, by his virtue of training,

experience and education as an anesthesiologist, and his specialty in neurological anesthesia, was

qualified to hold the position of an anesthesiologist with USAP and perform the duties of it

throughout his employment by USAPT.

       6.      Plaintiff became a stockholder of USAPH, the parent of USAP, pursuant to a

Stockholders Agreement dated November 30, 2017 and was employed by USAPT between

November 2017 and January 2021 by virtue of his employment by one of Defendants’

predecessors in interest by acquisition, Pinnacle Anesthesia Consultants, PLLC, pursuant to a

Physician-Partner Employment Agreement between Plaintiff and Pinnacle Anesthesia

Consultants, PLLC dated January 6, 2014. At the time of the acquisition by USAP of Pinnacle

Anesthesia Consultants, PLLC, most of the anesthesiologists with Pinnacle Anesthesia

Consultants, PLLC were over 50 years of age, and Pinnacle Anesthesia Consultants, PLLC

maintained a general rule of one board certified anesthesiologist in each operating room for each

surgery. After the USAP acquisition, however, USAP instituted a policy whereby nurse

anesthetists (generally younger than anesthesiologists) under the supervision of younger not

necessarily board-certified anesthesiologists were used to staff operating rooms for each surgery,

leading to many older anesthesiologists to leave USAP either by constructive discharge or



FIRST AMENDED COMPLAINT – Page 2
   Case 3:22-cv-01635-N Document 16 Filed 09/12/22                    Page 3 of 10 PageID 68



discharge as such. Prior to the termination of his employment by USAPT, Plaintiff observed this

policy and resulting pattern and practice of USAP at Presbyterian Plano and HCA Columbia,

hospitals in Plano, Texas where he performed anesthesia services after the purchase by USAP,

through one or more legal entities, of Pinnacle Anesthesia Consultants, PLLC. Also after the

purchase by USAP, through one or more legal entities, of Pinnacle Anesthesia Consultants, PLLC,

USAP, through USAPH, assumed and then exercised financial control, and control over

operational and human resources aspects, including involvement in employment decisions, of the

business of USAPT and other like entities within USAP subsidiary to or affiliated with USAPH,

and like USAPT, employing anesthesiologists and nurse anesthetists, supplanting the prior

financial control, and control over operational and human resources aspects, of the business of

such entities by such entities themselves. USAP, through USAPH, as USAP’s parent, assumed and

exercised such control by, among other things, limiting the compensation of anesthesiologists

employed by such entities by instituting blended rate charging and flattening of compensation of

anesthesiologists throughout the United States, resulting in flattened compensation of

anesthesiologists despite differences in rates available to be charged, and resulting revenue

attributable to anesthesiologists, in different parts of the United States, by instituting a centralized

billing system, by instituting a centralized patient survey system and by reserving to USAP,

through USAPH, and not USAPT and other like entities employing anesthesiologists and nurse

anesthetists, decision-making authority regarding discipline and hiring and firing of

anesthesiologists and nurse anesthetists. One or more physician employees of USAPT and other

like entities employing anesthesiologists and nurse anesthetists have been members of the Clinical

Operations Committee and Board of Directors of USAP or executives of USAP, through USAPH

as USAP’s parent. Also after the purchase by USAP, through one or more legal entities, of Pinnacle



FIRST AMENDED COMPLAINT – Page 3
   Case 3:22-cv-01635-N Document 16 Filed 09/12/22                   Page 4 of 10 PageID 69



Anesthesia Consultants, PLLC, USAP, through representatives of USAPH, inquired in writing of

the retirement plans of anesthesiologists over 40 years of age employed by such legal entities.

       7.      On July 22, 2020, Plaintiff, in a meeting with a human resources representative of

Defendants, Ashley Sharp, and another representative of Defendants, Dr. Stuart Simon,

purportedly the chairman of Defendants’ human resources committee, was subjected to patently

false allegations concerning his performance as a medical professional. Such representatives

initially refused to provide the substance of the allegations in writing or allow Plaintiff to respond

to any such allegations. Only after the meeting, and a request by email from Plaintiff dated

September 8, 2020 acknowledged by email from Ms. Sharp dated September 8, 2020, did

Defendants offer a non-exhaustive list of such allegations by email from Ms. Sharp dated

September 23, 2022 to which Plaintiff responded in an email dated September 28, 2020 by

indicating the lack of any basis to certain of the claimed non-exhaustive list of allegations, making

a request for additional information about certain of the claimed non-exhausted allegations and

making a request for a complete, exhaustive list of any claimed allegations. Defendants did not

provide the requested additional information or the complete exhaustive list of any claimed

allegations.

       8.      Also on July 22, 2020, Defendants demanded that Plaintiff submit to coaching

sessions from a purported physician counselor, Dr. David Teegarden, as a condition of continued

employment with Defendants. By emails dated August 5, 2020, August 11, 2020, August 13, 2020

and September 23, 2020 from Ms. Sharp to Plaintiff, Ms. Sharp further reiterated the demand of

Defendants that Plaintiff receive coaching sessions from Dr. Teegarden. By his email dated

September 28, 2020, Plaintiff disagreed with the necessity of coaching sessions or any other review

of his performance as a medical professional by Dr Teegarden. By email dated November 9, 2020



FIRST AMENDED COMPLAINT – Page 4
   Case 3:22-cv-01635-N Document 16 Filed 09/12/22                 Page 5 of 10 PageID 70



from Ms. Sharp to Plaintiff, Defendants invited Plaintiff to a meeting with a USAP human

resources committee on November 12, 2020. By email dated November 12, 2020, Plaintiff

expressed to Ms. Sharp his willingness to meet with the human resources committee so long as he

was permitted to attend the meeting with counsel. Defendants did not agree to such a meeting with

counsel. Counsel for Plaintiff further reiterated Plaintiff’s willingness to meet with the human

resources committee with counsel by email dated December 15, 2020. By email dated January 5,

2021 from Ms. Sharp to Plaintiff, Defendants again reiterated the demand that Plaintiff submit to

coaching sessions from Dr. Teegarden and finally confirmed that Defendants would not agree to

another individual for coaching sessions, and insisted that Plaintiff advise Defendants whether it

would attend coaching sessions with Dr. Teegarden by January 8, 2021.

       9.      Despite the baseless nature of Defendants’ allegations against him and their related

demand for coaching sessions with Dr. Teegarden, Plaintiff offered, including by email to Ms.

Sharp dated September 28, 2020, to submit to a review by a mutually agreed-upon qualified

medical professional. Defendants refused to agree to Plaintiff’s offer, insisting, as indicated, by

email dated January 5, 2021, that Plaintiff submit to coaching sessions only by Dr. David

Teegarden. After September 28, 2020, Plaintiff and his counsel made numerous attempts to

cooperate with Defendants to find another mutually agreeable and qualified candidate for coaching

sessions on the assumption that Defendants’ desire was for an objective review of Plaintiff’s

performance as a medical professional. Defendants’ refusal to consider an alternative confirmed

that Defendants’ objective was termination of Plaintiff’s employment consistent with their age-

based harassment of Plaintiff as an older anesthesiologist. Defendants lacked adequate

documentation of any basis for its age discriminatory demand for coaching and did not investigate

Plaintiff’s complaints of age-based harassment and other age discrimination. Defendants’ claim of



FIRST AMENDED COMPLAINT – Page 5
   Case 3:22-cv-01635-N Document 16 Filed 09/12/22                 Page 6 of 10 PageID 71



purportedly inadequate professional performance of Plaintiff was false in all events, and

Defendants did not apply its own policies relating to evaluation of clinical performance in seeking

to address any purportedly inadequate professional performance by Plaintiff. Notwithstanding the

claimed or implied purportedly inadequate professional performance of Plaintiff, Plaintiff

continued to be scheduled in operating rooms at multiple facilities staffed by physician employees

of USAPT between July 2020 and February 2021.

       10.     Plaintiff was, in being subjected to the treatment referred to in paragraphs 7, 8 and

9, treated in a disparate manner compared to younger anesthesiologists. Plaintiff was not the only

older anesthesiologist employed by USAP, whether or not employed by USAPT or other

immediate employers of USAP anesthesiologists and nurse anesthetists, subjected to such

treatment or other treatment to which younger anesthesiologists were not subjected. USAP,

through USAPT as USAP’s parent, and other immediate employers of USAP anesthesiologists

and nurse anesthetists, followed a pattern and practice between 2017 and 2021 of harassing older

anesthesiologists by demands for counseling based on claims of inadequate professional conduct

or misconduct as professionals, and otherwise harassing older anesthesiologists, while not doing

so in the case of younger anesthesiologists, in the manner reflected in paragraphs 7, 8 and 9. The

treatment of Plaintiff by USAPT referred to in paragraphs 7, 8 and 9 was an instance of such

pattern and practice.

       11.     Plaintiff engaged in protected conduct by complaining to Defendants, including

through its counsel and human resources representatives, including by an email from Plaintiff to a

representative of Defendants dated September 28, 2020 and an email from his counsel dated

October 9, 2020, that he was being subjected to age-based harassment and other age

discrimination.



FIRST AMENDED COMPLAINT – Page 6
   Case 3:22-cv-01635-N Document 16 Filed 09/12/22                 Page 7 of 10 PageID 72



       12.     By letter dated January 29, 2021, USAPT involuntarily terminated Plaintiff’s

employment without cause. There was no need for Defendants to terminate Plaintiff. In fact, the

reason for Plaintiff’s termination was USAP’s false allegations against Plaintiff referred to in

paragraphs 7, 8 and 9. That reason and other circumstances surrounding the termination of Plaintiff

constituted a pretext for age discrimination.

       13.     USAPT and other entities employing anesthesiologists as a part of USAP followed

a pattern and practice of forcing termination by resignation or terminating older anesthesiologists

while not doing so in the case of younger anesthesiologists and replacing the older

anesthesiologists with younger anesthesiologists and nurse anesthetists. The treatment of Plaintiff

by USAPT was an instance of such pattern and practice.

       14.     Since his termination, Plaintiff has suffered lost compensation and benefits,

including equity benefits, associated with his employment by Defendants in an amount not less

than $500,000 per year less only mitigating compensation and benefits. Apart from being the

provider of equity benefits to Plaintiff, there are other connections between Defendants. The

connections between Defendants include the fact that, under section 2.8 of the employment

agreement between the predecessor entity to USAPT and Plaintiff governing the employment of

Plaintiff by USAPT, confidentiality obligations of USAP as a whole, under the fifth recital and

section 2.10 of the employment agreement, Plaintiff was subject to professional reviews by an

entity referred to as Pinnacle Clinical Governance Board, including annually after age 68, under

section 5.1 of the employment agreement, Plaintiff’s compensation under a “Pinnacle

Compensation Plan” was made payable under policies of USAP, under section 8 of the

employment agreement, Plaintiff was a “Physician-Partner” as, among other things, designated by

the Pinnacle Clinical Governance Board and USAP, and under section 6.25 of the employment



FIRST AMENDED COMPLAINT – Page 7
   Case 3:22-cv-01635-N Document 16 Filed 09/12/22                 Page 8 of 10 PageID 73



agreement, USAP included as part of the employment agreement a Code of Conduct governing

the representation of physicians associated with USAP, including its associated clinical providers’

quality care and professional demeanor, providing that any party who signs an employment

agreement with USAPT will be deemed to be governed by the Code and progressive discipline,

including termination and under section 10.13 of the employment agreement, the employment

agreement became effective only upon a merger agreement between USAPH and other USAP

entities, including USAPT. Copies of the employment agreement and attachments are annexed

hereto as Exhibit A. The connections between Defendants also include provisions of the

stockholders agreement between Plaintiff and USAPH, including the definition of “Cause” in

section 1.01 permitting an involuntary repurchase of shares of a physician stockholder employee

of USAPH, one or more of its Subsidiaries or an affiliated Position Practice [see definition of

Physician Stockholder in section 1.01] pursuant to section 6.01(z)(i) and (ii). A copy of the

stockholders agreement is annexed hereto as Exhibit B. Plaintiff has not otherwise admitted that

there is no employment relationship between Plaintiff and USAPH.

       15.     By charge of discrimination dated October 15, 2021, Plaintiff filed a charge of

discrimination asserting a claim of age discrimination against USAP and all affiliated entities, and

by notice of right to sue from the Equal Employment Opportunity Commission dated May 16,

2022, Plaintiff was granted a notice of right to sue on his claims of age discrimination and

retaliation under the Age Discrimination in Employment Act arising from the charge, and has filed

this action within the time permitted by the notice of right to sue. Copies of the charge of

discrimination and notice of right to sue and attachments are annexed hereto as Exhibit C.




FIRST AMENDED COMPLAINT – Page 8
   Case 3:22-cv-01635-N Document 16 Filed 09/12/22                 Page 9 of 10 PageID 74



                                             Claims

       16.     Plaintiff would show that he was subjected by Defendants to discrimination on the

basis of age in violation of the Age Discrimination in Employment Act, and is entitled to recover

his actual damages, liquidated damages, attorney’s fees, prejudgment interest and costs of court.

       17.     Plaintiff would show that he was subjected by Defendants to retaliation in violation

of the Age Discrimination in Employment Act, and is entitled to recover his actual damages,

liquidated damages, attorney's fees, prejudgment interest and costs.

       18.     Plaintiff demands a jury.

       WHEREFORE, Plaintiff prays for the relief referred to in paragraphs 13 and 14 and all

other relief to which he may be entitled.

                                                      Respectfully submitted,



                                                      /s/ Robert E. Goodman, Jr.
                                                      Robert E. Goodman, Jr.
                                                      State Bar No. 08158100
                                                      reg@kilgorelaw.com
                                                      Kilgore & Kilgore, PLLC
                                                      3141 Hood Street, Suite 500
                                                      Dallas, Texas 75219
                                                      (214) 379-0843 Telephone
                                                      (214) 379-0840 Telecopy

                                                      ATTORNEY FOR PLAINTIFF




FIRST AMENDED COMPLAINT – Page 9
  Case 3:22-cv-01635-N Document 16 Filed 09/12/22              Page 10 of 10 PageID 75



                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was served on all parties in this matter using the
electronic filing system of this Court and/or by email on September 12, 2022.

Jennifer A. Youpa
jyoupa@littler.com
Matthew A. Swanger
mswanger@littler.com
Littler Mendelson, P.C.
2001 Ross Avenue
Suite 1500, Lock Box 116
Dallas, Texas 75201

                                                         /s/ Robert E. Goodman, Jr.
                                                         Robert E. Goodman




FIRST AMENDED COMPLAINT – Page 10
